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                          Exhibit 21
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New York State Bar Association
Committee on Professional Ethics
Opinion 898 (12/19/11)
Topic:    Legal advice to unrepresented person
 Digest: A lawyer does not give legal advice to an unrepresented person in violation of Rule 4.3
merely by including in a letter a legally mandated notice regarding expiration of the statute of
limitations on the subject claim.
Rules: Rule 4.3
BACKGROUND

1.        The debt collection industry, including law firms engaged in the collection of consumer
debt, have come under greater regulation and scrutiny since Congress enacted the Fair Debt
Collection Practices Act (“FDCPA”), 15 U.S.C. §§ 1692 et seq., in 1978. Many states and various
local legislative bodies have followed with legislation modeled upon the FDCPA and, in certain
instances, have expanded the obligations imposed upon collection law firms. In particular, the New
York City Council has added obligations upon lawyers engaged in the collection of consumer debt
within New York City. In this opinion we address New York City’s requirement that lawyers who
correspond with an alleged consumer debtor regarding a debt that is beyond the statute of limitations
must include a notice that the legal time limit for suing upon the debt has expired.
 2.       New York City Administrative Code Section 20-490 requires every “debt collection
agency” that deals with the consumer public to be licensed by the New York City Department of
Consumer Affairs. Under Code Section 20-489(a), a lawyer comes within the definition of a debt
collection agency if the lawyer “regularly engages in activities traditionally performed by debt
collectors, including, but not limited to, contacting a debtor through the mail or via telephone with
the purpose of collecting a debt.”
 3.        Section 20-493.2(b) provides that a debt collection agency shall not “[c]ontact a consumer
about or seek to collect a debt on which the statute of limitations for initiating legal action has
expired unless such agency first provides the consumer such information about the consumer’s legal
rights as the [Commissioner of Consumer Affairs] prescribes by rule.” The Commissioner has
promulgated a rule providing that a debt collection agency (which, as seen above, may include a
lawyer) is required to include the following statement in a communication when the agency is
seeking to collect upon a debt beyond the statute of limitations:
    WE ARE REQUIRED BY LAW TO GIVE YOU THE FOLLOWING INFORMATION
ABOUT THIS DEBT. The legal time limit (statute of limitations) for suing you to collect this debt
has expired. However, if somebody sues you anyway to try to make you pay this debt, court rules
REQUIRE YOU to tell the court that the statute of limitations has expired to prevent the creditor
from obtaining a judgment. Even though the statute of limitations has expired, you may CHOOSE to
make payments. However, BE AWARE: if you make a payment, the creditor’s right to sue you to
make you pay the entire debt may START AGAIN.


6 R.C.N.Y. § 2-191(a) (emphasis in original). If a lawyer were ethically barred from giving this
notice, or other mandated notices,[1] it could impede the lawyer’s ability to engage in debt collection
work.
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QUESTION

4.     May a lawyer ethically engage in debt collection activities in compliance with the
Commissioner’s rule requiring communications to include the above-quoted notice?
OPINION

5.        Under the New York Rules of Professional Conduct, communications between a lawyer
and a person unrepresented by counsel are governed by Rule 4.3, which in relevant part provides:
“The lawyer shall not give legal advice to an unrepresented person other than the advice to secure
counsel if the lawyer knows or reasonably should know that the interests of such person are or have
a reasonable possibility of being in conflict with the interests of the client.”
 6.        When a lawyer’s client is a creditor seeking to collect a debt, it should be clear that the
interests of the debtor “are or have a reasonable possibility of being in conflict with the interests of
the client” (the creditor) within the meaning of Rule 4.3. In addition, we assume for the purposes of
this opinion that the debtor is unrepresented. Accordingly, the predicates of Rule 4.3 have
apparently been met, and the lawyer is prohibited from giving the debtor “legal advice” within the
meaning of the Rule, other than the advice to secure counsel.
 7.        The term “legal advice” is not defined by the Rules. Whether a particular communication
constitutes legal advice may depend not only on the words used but also on the context of their use.
See Rule 4.3, Cmt. [2] (whether a lawyer is giving impermissible advice may depend in part on
“the setting in which the behavior and comments occur”). When the broadest possible reading of the
term “legal advice” would not serve the Rule’s purpose, then a more common-sense reading may be
appropriate.[2]
 8.       Taking into account the purpose of Rule 4.3 and the setting in which the mandated notice
is given, we believe that merely providing that mandated notice to the debtor would not constitute
giving legal advice within the meaning of the Rule.
 9.        The basis for the rule against giving legal advice to unrepresented parties is “the possibility
that the lawyer will compromise the unrepresented person’s interests.” Rule 4.3, Cmt. [2]. In this
case, the notice is designed not to compromise but rather to serve those interests. It is not the lawyer
who has made that assessment of the debtor’s interests; rather, the assessment was made in the
course of a legislative and administrative process. Nor does the mandate allow the lawyer to vary
the form of the notice in any way that could serve the debtor’s interests less effectively. The exact
words of the notice are prescribed.
 10.       Moreover, it is in the nature of giving legal advice that a lawyer exercises professional
judgment to apply legal principles to particular facts, and to impart some particular advice rather
than some other possible advice so as to help guide decisions of the recipient.[3] None of those
features are present here. Far from exercising professional judgment or choosing between different
possible forms of advice, the lawyer is doing no more than complying with the explicit requirements
of a rule that applies to every debt collection agency. The nature of a mandated notice and the
purpose of this particular notice lead us to conclude that a lawyer who gives it is not giving
impermissible legal advice.[4]
CONCLUSION

11.    A lawyer’s compliance with the New York City Rule requiring a specified notice as part of
a communication to collect a debt beyond the statute of limitations does not constitute giving legal
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advice to an unrepresented person as prohibited by Rule 4.3.
(28-11)




[1] For instance, every summons issued to a defendant on a consumer debt collection case requires
the summons to include specified language to the unrepresented party. The language required in the
New York City Civil Court on consumer credit transactions is as follows:
THIS IS A COURT PAPER - A SUMMONS. DON’T THROW IT AWAY!! TALK TO A
LAWYER RIGHT AWAY!! PART OF YOUR PAY MAY BE TAKEN FROM YOU
(GARNISHEED). IF YOU DO NOT SEE A LAWYER, YOUR PROPERTY CAN BE TAKEN
AND YOUR CREDIT RATING CAN BE HURT!! YOU MAY HAVE TO PAY OTHER COSTS
TOO!! IF YOU CAN NOT PAY FOR YOUR OWN LAWYER BRING THESE PAPERS TO
THIS COURT RIGHT AWAY!!
22 NYCRR §208.6(d) (emphasis in original).

[2] See, e.g., Rule 4.3, Cmt. [2] (stating that in “negotiating the terms of a transaction or
settling a dispute with an unrepresented person,” if the lawyer has complied with other
requirements of the Rule, the lawyer may explain “the lawyer’s view of the underlying legal
obligations”); N.Y. State 728 (2000) (“Although the disciplinary rule, by its terms, forbids a
lawyer from giving any advice to a party whose interests conflict with those of the lawyer’s client,
other than the advice to secure counsel, the rule has been understood to allow a lawyer, additionally,
to give certain non-controvertible information about the law to enable the other party to understand
the need for independent counsel”).

[3] As expressed in EC 3-5 of our former Code of Professional Responsibility: “The essence of the
professional judgment of the lawyer is the educated ability to relate the general body and philosophy
of law to a specific legal problem of a client ….”

[4] Cf. Pennsylvania Inf. Opinion 93-139 (opining that lawyer representing a party in a divorce
proceeding could ethically send an unrepresented party a letter and concurring affidavit because
these materials in part reflected standard notices required by civil procedure rules, and to the extent
the papers went beyond that, they constituted merely a recitation of the applicable legal principles
and did not constitute legal advice).
